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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


                          MINUTES OF PROCEEDINGS – CIVIL

MAHA ABDOU MIKHAEL,                            )   CASE No. 1:25-cv-00851
                                               )
       Plaintiff,                              )   DATE: April 30, 2025
                                               )
                     v.                        )   JUDGE DAVID A. RUIZ
                                               )
CLEVELAND PUBLIC MARKET                        )   COURT REPORTER: Shirle Perkins
CORPORATION, et al.,                           )
                                               )
       Defendants.                             )


Attorneys for Plaintiff:                           Attorney for Defendants Cleveland Public
Jason D. Winter and Courtney J. Trimacco           Market Corporation and Rosemary Mudry:
                                                   Jan Roller

                                                   Attorneys for Defendant City of Cleveland:
                                                   Gilbert E. Blomgren and Michael J. Pike


PROCEEDINGS: The Court held a telephonic Hearing regarding Plaintiff's Motion for

temporary restraining order (R. 2) on this date with the above counsel. After argument from all

sides, the Court indicated it would take the matter under advisement and issue a written

decision in due course.


Total Time: 1 hour 15 minutes                      s/ David A. Ruiz
                                                   David A. Ruiz
                                                   U.S. District Judge
